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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

OVERWELL HARVEST Lll\/IITED, )
a British Virgin lslands company, )
)
Plaintiff, )

) Civil Action No. 1:17-cv~6086
V. )

) Hon. Sara L. Ellis

DAVID WIDERHORN and )
PAUL GIEDRAITIS, )
)
Defendants. )
ORDER

This matter is before the Court on Plaintiff s Motion for Temporary Restraining

Order (tlie “Motion”) (Dkt. No. 7). Both parties appeared through counsel. For the

 

reasons stated on the record, Which are incorporated herein by reference, the motion is
granted in part. Dei`endants shall take no action With respect to the sale of the
Company’s assets unless and until the Board satisfies all applicable requirements of
DelaWare law and the Bylaws of Neurensic, lnc. Plaintiff shall post a bond With the
Clerk of Court in the amount of $50,000 Within seven (7) days The matter is entered
and continued to Octoberg§, 2017 at 9:30 for status.

Dated: September 21, 2017 IT lS SO ORDERED.

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g"on. Sara L. Ellis,
United States District Court Judge

